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Case 1:08-cv-00705-JDB Document 33 Filed 10/09/09 Page 1of5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

TRITA PARSI
AND
NATIONAL IRANIAN AMERICAN COUNCIL
Plaintiffs
v. Case No. 08 CV 00705 (JDB)
DAIOLESLAM SEID HASSAN
Defendant
PLAINTIFE’S MOTION FOR AN EMERGENCY PROTECTIVE ORDER
SEEKING TO PROHIBIT THE PUBLICATION OF FIVE EMAILS BETWEEN DEBBIE
BIRD AND TRITA PARSI REGARDING AN INDIVIDUAL NAMED THEREIN
The Plaintiffs, The National Iranian American Counsel (hereinafter, “NIAC”), and its
President, Dr. Trita Parsi, moves this Honorable Court to issue an Emergency Protective Order
prohibiting the disclosure of Five (5) emails between Dr. Parsi, Plaintiff and Debbie Bird, the
White House scheduler dated April 24, 26, 27, 28 and May 6, 2009, regarding setting up a
potential meeting with an Iranian economist (“Dr. B”) and the White House and for reasons
states as follows:.
1. Before the popular uprising following the June elections in Iran, Plaintiff, Dr.
Trita Parsi, had attempted to arrange a meeting between Dr. B, an Iranian economist, and the
White House to discuss the June 2009 election in Iran and Iran in general.
2. These Five (5) emails were provided to the Defendant pursuant to his
discovery and are between Trita Parsi and Debbie Bird; they are dated: 4/24/2009, 4/26/2009,

4/27/2009, 4/28/2009, and 5/6/2009.
 

 

Case 1:08-cv-00705-JDB Document 33 Filed 10/09/09 Page 2 of 5

3. Dr. B has subsequently been imprisoned in Iran by the Ahmadinejad
government, following the post-election unrest, accused of seeking a velvet revolution in Iran.

4. As such, publication of said emails will jeopardize Dr. B’s life and security, as
he is currently in an Iranian jail or out on bail pending trial in Iran with no access to legal
representation here in the United States.

5. In addition, the emails implicate communications with governmental officials
and are therefore especially susceptible to being misused for malicious purposes by the
Defendant against Plaintiffs.

6. Pursuant to the Federal Rules of Civil Procedure 26 (c) (1) (D), opposing
counsel, Mr. HL Rogers of Sidley, LLP was notified by telephone on Tuesday, October 6, 2009
and subsequently in additional calls prior to the filing of this Motion by Plaintiff's attorney that
this motion is to be filed.

WHEREFORE, the Plaintiff requests:

1. A Protective Order be granted to prohibit the publication of the above-referenced
emails.

2. For such other and further relief as deemed necessary by this Honorable Court,

Respectfully Submitted

PISHEVAR & ASSOCIATES, P.C.

By: = /s/_A,P. Pishevar
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Case 1:08-cv-00705-JDB Document 33 Filed 10/09/09 Page 3 of 5

CERTIFICATE OF SERVICE

-I HEREBY CERTIFY that on this 9" day of October, 2009, a copy of the foregoing

was mailed to:

Sidley Austin LLP

Mr. HL Rogers, Esq.
1501 K Street, N.W.
Washington, DC 20005

/s/ A.P. Pishevar
A.P. Pishevar (#451015)
 

 

Case 1:08-cv-00705-JDB Document 33 Filed 10/09/09 Page 4 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

TRITA PARSI
AND
NATIONAL IRANIAN AMERICAN COUNCIL

Plaintiffs,

vs. Civil Case: No: 08 CV 00705 (JDB)
DAIOLESLAM SEID HASSAN,
Defendant.
ORDER GRANTING PLAINTIFF’S MOTION FOR AN EMERGENCY PROTECTIVE
ORDER SEEKING TO PROHIBIT THE PUBLICATION
OF FIVE EMAILS BETWEEN DEBBIE BIRD AND TRITA PARSI REGARDING AN
INDIVIDUAL NAMED THEREIN
UPON CONSIDERATION of the Plaintiff’s Motion for a Protective Order prohibiting

the publication of said emails between Dr. Trita Parsi and Debbie Bird regarding the emails

described in said Motion., and any opposition thereto and it is this day of

, 2009, by the United States District Court for the District of Columbia.

That the Motion is hereby GRANTED, and it is
 

 

Case 1:08-cv-00705-JDB Document 33 Filed 10/09/09 Page 5 of 5

ORDERED, that the e-mails referenced in the Motion are not to be disseminated by the

Defendant and is to be kept confidential and returned to the Plaintiffs at the conclusion of this

case.

IT IS SO ORDERED.

Copies to:

Sidley Austin LLP

Mr. HE Rogers, Esq.
1501 K Street, N.W.
Washington, DC 20005

A.P. Pishevar, Esq.
Jefferson Plaza, Suite 316
600 East Jefferson Street
Rockville, Maryland 20850

 

JOHN D. BATES
